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                  IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                   )
                                            )
                    Plaintiff,              )                 4:09CR3082
                                            )
             v.                             )
                                            )
SHANE ALLEN SCHUTTE,                        )      MEMORANDUM AND ORDER
MARIA DEL SAGRARIO                          )
SCHUTTE,                                    )
                                            )
                    Defendants.

       Defendant Maria Schutte has moved for a 30-day extension of the deadline for
filing pretrial motions. (Filing No. 24). Her counsel explains that he recently
received a CD and/or DVD of investigative report from the government, and he needs
additional time to review these reports in order to determine if pretrial motions should
be filed. Counsel for the government does not object to the requested continuance.
The court finds defendant Maria Schutte’s motion should be granted.

      IT IS ORDERED:

      1)     Defendant Maria Schutte’s motion to continue the deadline for filing
             pretrial motions, (filing no. 24), is granted and defendants’ pretrial
             motions and briefs shall be filed on or before August 28, 2009.

      2)     The ends of justice will be served by granting such a motion, and
             outweigh the interests of the public and the defendant in a speedy trial,
             and the additional time arising as a result of the granting of the motion,
             the time between July 24, 2009 and August 28, 2009, shall be deemed
             excludable time in any computation of time under the requirements of
             the Speedy Trial Act, for the reason that the parties require additional
             time to adequately prepare the case, taking into consideration due
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          diligence of counsel, the novelty and complexity of the case, and the fact
          that the failure to grant additional time might result in a miscarriage of
          justice. 18 U.S.C. § 3161(h)(7)(A) & (B).

    3)    As to all defendants, the trial of this case, currently scheduled for
          August 31, 2009, is continued and will be re-scheduled upon the
          resolution of any pretrial motions.

    DATED this 30th day of July, 2009.

                                     BY THE COURT:

                                     Richard G. Kopf
                                     United States District Judge




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